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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MALLINCKRODT ARD LLC.,


                    Plaintiffs,

        v.
                                                     Civil Docket No. 1:19-cv-1471-ABJ
 SEEMA VERMA, in her official capacity as
 ADMINISTRATOR, CENTERS FOR
 MEDICARE & MEDICAID SERVICES, and
 ALEX M. AZAR II, in his official capacity as
 SECRETARY, UNITED STATES
 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES,


                    Defendants.


                                         [PROPOSED] ORDER


       Upon consideration of Defendants’ motion for summary judgment and any response and

reply thereto, as well as Plaintiff’s motion for a preliminary injunction, Defendants’ opposition to

that motion, and any reply thereto, it is hereby ORDERED that Defendants’ motion for summary

judgment is GRANTED and Plaintiff’s motion for a preliminary injunction is DENIED. The Court

hereby enters judgment in favor of Defendants on all of Plaintiff’s claims.



SO ORDERED.


________________________                              ______________________________
Date                                                  AMY BERMAN JACKSON
                                                      United States District Judge




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NAMES OF PERSONS TO BE SERVED WITH PROPOSED ORDER

        Pursuant to LCvR 7(k), the following attorneys are entitled to be notified of the entry of
the foregoing:

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